UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

                                      :
CRAIG WILSON, et al.,                 :             CASE NO. 4:20-cv-00794
                                      :
           Petitioners,               :             ORDER
                                      :
vs.                                   :
                                      :
MARK WILLIAMS, et al.,                :
                                      :
           Respondents.               :
                                      :


JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

       On April 13, 2020, Petitioners, inmates at Elkton Federal Correctional Institution,

brought this emergency habeas action seeking release from Elkton due to the spread of

COVID-19 within the prison. 1 On April 22, 2020, this Court granted a preliminary

injunction in favor of Petitioners, ordering Respondents to identify members of the

subclass; evaluate each subclass member’s eligibility for transfer within two weeks (by May

6), prioritizing the most medically vulnerable inmates; and transfer inmates ineligible for

other forms of release to another BOP facility. 2

       On April 27, Respondents filed an interlocutory appeal. 3 On April 28, Respondents

moved in this Court for a stay pending appeal. 4 The Court has yet to rule on this motion.

       On April 29, 2020, Respondents moved for the Sixth Circuit to stay this Court’s

Order. On April 30, 2020, the Sixth Circuit denied Respondents’ request for an




       1
           Doc. 1.
       2
         Doc. 22.
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         Doc. 26.
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         Doc. 29.
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administrative stay. 5 On May 4, 2020 the Sixth Circuit also denied Respondents’ request

for a stay pending appeal, noting that Respondents’ time to comply with this Court’s order

was about to expire, “rendering any remaining harm slight.”6

       On May 4, 2020, Petitioners moved for expedited discovery and the entry of a

protective order. 7 Petitioners request that the Court order Respondents to provide

information about their efforts to identify and evaluate the subclass. They also seek

information about each identified subclass member’s evaluation results and transfer date.

       In light of the pending motion to stay, the Sixth Circuit’s most recent order denying

a stay, and Petitioners’ motion, the Court orders the following:

   •   By 10:00 a.m. on May 6, 2020, both parties are ordered to file memorandums with
       the Court discussing whether the May 4, 2020, Sixth Circuit stay denial is the law of
       the case regarding Respondent’s district court request for a stay, whether the Sixth
       Circuit’s decision is controlling, and whether any issue regarding Respondents’
       motion to stay remains after the Court of Appeals’ May 4, 2020 Order.

   •   By 10:00 a.m. on May 6, 2020, Respondents are ordered to respond to Petitioners’
       Motion for Expedited Discovery and Protective Order.

   •   By 10:00 a.m. on May 6, 2020, Respondents are ordered to file a status report
       describing Respondents’ compliance with this Court’s April 22 Order and detailing
       where Respondents are in the process of evaluating and moving the subclass
       members.



       IT IS SO ORDERED.


Dated: May 5, 2020                                                 s/        James S. Gwin
                                                                   JAMES S. GWIN
                                                                   UNITED STATES DISTRICT JUDGE


       5
           Doc. 36.
       6
           Wilson et al. v. Williams et al., No. 20-3447, slip op. at 5 (6th Cir. May 4, 2020).
       7
           Doc. 44.
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